Case 1:25-cv-00140-MJT        Document 1    Filed 03/26/25   Page 1 of 15 PageID #: 1




                     UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION



    Sreekar Tummala,


                 Plaintiff,                      Case No. 1:25-cv-00140


          v.


    Apex-Aid, a business association,            Complaint
    Horst Mack, an individual, CXISUX,
    a business association, David
    Chilver, an individual, and John
    Does 1 – 20,


                 Defendants.



         Plaintiff Sreekar Tummala hereby sues Apex-Aid, Horst Mack,

   CXISUX, David Chilver, and John Does 1 – 20 (collectively, the

   “Defendants”). In support, he alleges as follows.

         I.     Preliminary Statement

         1.     Our country is in the midst of a crypto-fraud crisis. Foreign

   criminal organizations have stolen billions of dollars from hardworking

   Americans in what are known as “pig-butchering” scams—and are continuing

   to do so even as we speak.

         2.     Pig-butchering scams vary in their particulars, but in outline

   they are all the same. The scammers begin by initiating contact with and


                                           -1-
Case 1:25-cv-00140-MJT      Document 1      Filed 03/26/25    Page 2 of 15 PageID #: 2




   building trust with the victim, using diabolical psychological techniques to

   lower their target’s defenses. They then convince the victim to “invest” using

   a realistic-looking online cryptocurrency-trading platform. The victim

   deposits money and, over time, profits appear to grow. But when the victim

   tries to withdraw these profits, problems emerge. The scammers demand

   more money in ‘taxes’ or ‘fees’ to release the victim’s funds. Desperate for their

   money back, victims often comply. When it finally becomes clear that the

   whole enterprise is a sham, it is too late. The scammers disappear with the

   victim’s money and cut off contact.

         3.     Tens of thousands of hardworking Americans have lost their life

   savings to these scams. Recent literature indicates that pig-butchering

   organizations have stolen more than $75 billion from victims worldwide since

   2020. The FBI reports that Americans lost more than $3 billion to pig-

   butchering scams in 2023 alone.

         4.     This is an action by a victim of one such scam, Mr. Sreekar

   Tummala. The Defendants tricked Mr. Tummala into investing on a platform

   that turned out to be a scam, and in so doing stole $619,231.80 of his savings.

   Mr. Tummala has now been “slaughtered,” in the scammers’ parlance, and

   his money spirited away to foreign bank accounts and crypto wallets.

         5.     This action and coordination with law enforcement are Mr.

   Tummala’s only hopes for recovery. In this suit, he seeks the return of the




                                         -2-
Case 1:25-cv-00140-MJT       Document 1     Filed 03/26/25   Page 3 of 15 PageID #: 3




   assets stolen from him and additional damages and equitable relief described

   below.

            II.    Parties

            6.     Plaintiff Sreekar Tummala is an individual. He is a resident of

   Plano, Texas.

            7.     Apex-Aid is a fraudulent virtual asset recovery firm. Its

   headquarters and situs of organization are unknown.

            8.     Horst Mack is an individual of unknown citizenship. His present

   whereabouts are unknown.

            9.     CXISUX is a fraudulent cryptocurrency-investment platform.

   Its headquarters and situs of organization are unknown.

            10.    David Chilver is an individual of unknown citizenship. His

   present whereabouts are unknown.

            11.    Defendants John Doe 1 – 20 are as-yet unidentified individuals,

   business entities, and/or unincorporated associations. These persons are

   CXISUX’s, Horst Mack’s, Apex-Aid’s, and David Chilver’s co-conspirators.

            III.   Jurisdiction & Venue

            12.    This is an action under the Racketeer Influenced and Corrupt

   Organizations Act (“RICO”). Accordingly, this Court has federal-question

   jurisdiction.

            13.    Each of the Defendants are subject to the personal jurisdiction

   of this Court because they direct business activities towards and conduct

   business with consumers throughout the United States, including within the

                                          -3-
Case 1:25-cv-00140-MJT      Document 1      Filed 03/26/25    Page 4 of 15 PageID #: 4




   State of Texas and this district through at least one fraudulent website and

   mobile application accessible from Texas. Alternatively, the Defendants are

   subject to personal jurisdiction in this district because (i) they are not subject

   to jurisdiction in any state’s court of general jurisdiction and (ii) exercising

   jurisdiction is consistent with the United States Constitution and laws.

          14.    Venue is proper in this district pursuant to 28 U.S.C. §

   1391(c)(3), which provides that a foreign defendant may be sued in any

   judicial district.

          IV.    Allegations

          15.    In November 2023, Horst Mack added Mr. Tummala to a

   WhatsApp group of which Horst was the purported leader, promoting a

   crypto-trading platform called CXISUX.

          16.    Over the next several months, Mack ‘trained’ Mr. Tummala and

   the other members of the group in cryptocurrency trading using the CXISUX

   platform. Mack and his assistant provided guidance in the form of detailed

   instructions for accessing and using the platform, and precise times for the

   group members to conduct short-term arbitrage and options trades in various

   virtual assets. Over time, Mr. Tummala sent assets to CXISUX with a dollar-

   denomiated value of $83,771.36. A ledger showing all of Mr. Tummala’s

   outgoing transfers to CXISUX—each made at the encouragement and

   instruction of Horst Mack—is set out as Attachment 1 to this Complaint.

          17.    Mr. Tummala’s balance on the CXISUX platform appeared to

   grow rapidly—eventually showing that he had almost doubled his total
                                          -4-
Case 1:25-cv-00140-MJT     Document 1     Filed 03/26/25   Page 5 of 15 PageID #: 5




   investment amount. But when he attempted to withdraw his funds, CXISUX

   would not allow their release and offered no response to any of his efforts at

   communication. He realized that he had been scammed and sought legal help.

         18.    In the course of his search for legal aid, Mr. Tummala found a

   company called Apex-Aid that claimed to specialize in virtual asset recovery

   for victims of fraud. He submitted an inquiry and was contacted by David

   Chilver, an individual claiming to be the CEO of Apex-Aid. Chilver claimed

   to be able to recover the assets that Mr. Tummala transferred to CXISUX.

         19.    During this period, Chilver would contact Mr. Tummala with

   updates on the status of his recovery and request additional payments to pay

   for “tools” and “mining costs” in the furtherance of investigating the scam and

   recovering his stolen funds.

         20.    Mr. Tummala transferred $535,460.44 in total to Chilver and

   Apex-Aid throughout this process. When Chilver’s demands for additional

   payments continued with no evidence of any of Mr. Tummala’s assets having

   actually been recovered, Mr. Tummala realized he had again been scammed.

   A ledger showing each of Mr. Tummala’s outgoing transfers to Apex-Aid is

   set out as Attachment 2 to this Complaint.

         21.    The Defendants victimized Mr. Tummala in a pig-butchering

   scam. The CXISUX platform was never a “trading platform” of any sort. It

   was a simulacrum of a trading platform where no actual trading or

   investment ever occurred. The account balances, the purported profits, and



                                        -5-
Case 1:25-cv-00140-MJT      Document 1      Filed 03/26/25      Page 6 of 15 PageID #: 6




   the transaction history displayed were real only in the sense that they

   reflected the monies Mr. Tummala sent to the Defendants. And this was

   simply to ensure that their fake trading platform appeared to be functioning.

   The assets Mr. Tummala transferred to the Defendants were never

   ‘deposited’ on CXISUX. They were never used for cryptocurrency trading.

   They were simply stolen.

         22.    David Chilver is not and was not the CEO of an asset recovery

   firm. He was the figurehead for the “recovery scam” that followed the

   investment scam operated by Mack and CXISUX. This is a common feature

   of pig-butchering operations. While the victim is the most confused and

   desparate, other scammers pose as purported recovery specialists who offer a

   ray of hope. But no recovery efforts ever occur—the assets transferred to the

   scammers by the victim are, again, stolen.

         23.    Mr. Tummala was not the only victim of the Defendants’ scam.

   Blockchain and publicly available online evidence show that Defendants

   defrauded at least dozens of other persons over more than a year.

         V.     Causes of Action

         24.    Mr. Tummala brings the following causes of action against the

   Defendants. The allegations set out above are incorporated into each of the

   causes of action that follow as if fully restated therein.




                                         -6-
Case 1:25-cv-00140-MJT      Document 1      Filed 03/26/25   Page 7 of 15 PageID #: 7




                            Count One
           Racketeering in Violation of 18 U.S.C. § 1962(c)
                      Against All Defendants

         25.    Horst Mack, CXISUX, Apex-Aid, David Chilver, and John Does

   1 – 20 (collectively, the “Defendants”) constituted an “enterprise” within the

   meaning of 18 U.S.C. §§ 1961(4) and 1962(c), in that they are a group of

   individuals and legal entities associated in fact. Their enterprise is referred

   to herein as the “Pig Butchering Enterprise.”

         26.    The Pig Butchering Enterprise engaged in numerous acts of

   wire fraud in violation of 18 U.S.C. § 1343, as described above. They did so

   using their online platform and digital communications with Mr. Tummala

   and others. Mr. Tummala relied on the Defendants’ fraudulent statements to

   his detriment.

         27.    The Defendants shared the common purpose of defrauding and

   stealing from Mr. Tummala and other victims and thereby converting and

   exercising dominion over their assets.

         28.    The Defendants are each a “person” within the meaning of 18

   U.S.C. §§ 1961(3) & 1962(c). Each of them individually conducted,

   participated in, engaged in, and operated and managed the affairs of the Pig

   Butchering Enterprise through a pattern of racketeering activity within the

   meaning of 18 U.S.C. §§ 1961(1), 1961(5) & 1962(c). Said pattern of

   racketeering activity consisted of, but was not limited to, the acts of wire

   fraud described above.



                                         -7-
Case 1:25-cv-00140-MJT     Document 1      Filed 03/26/25   Page 8 of 15 PageID #: 8




         29.    All the acts of racketeering activity described above were related

   so as to establish a pattern of racketeering activity within the meaning of 18

   U.S.C. § 1962(c). The Defendants’ common purpose was to defraud Mr.

   Tummala and other victims and convert and exercise dominion and control

   over those victims’ assets. Each Defendant, directly or indirectly, participated

   in all of the acts and employed the same or similar methods of commission.

         30.    The Pig Butchering Enterprise was of sufficient longevity for its

   members to carry out their purposes on a large scale. All of the acts of

   racketeering described above were continuous so as to form a pattern of

   racketeering activity in that the Defendants have engaged in the predicate

   acts for a substantial period of time exceeding one year. The Pig Butchering

   Enterprise successfully defrauded at least dozens of persons and converted

   millions of dollars worth of its victims’ assets, including Mr. Tummala’s. To

   the extent the Pig Butchering Enterprise’s activities have ceased or cease

   while this litigation is pending, these acts posed threat of indefinite duration

   at the time they were committed and will have stopped only because they

   were fortuitously interrupted by events beyond the Defendants’ control.

         31.    As a direct and proximate result of, and by reason of, the

   activities of the Defendants and their conduct in violation of 18 U.S.C. §

   1962(c), Mr. Tummala was injured in his business and property within the

   meaning of 18 U.S.C. § 1964(c). The Defendants stole Mr. Tummala’s savings

   and thereby caused him to suffer deprivations and extreme mental and



                                         -8-
Case 1:25-cv-00140-MJT     Document 1      Filed 03/26/25   Page 9 of 15 PageID #: 9




   emotional distress. He is, therefore, entitled to recover threefold the damages

   sustained together with the cost of the suit, including costs, reasonable

   attorneys’ fees and reasonable experts’ fees.

                                  Count II
                                Conversion
                           Against All Defendants

         32.    As more fully alleged above, the Defendants misappropriated

   Mr. Tummala’s assets.

         33.    The Defendants converted Mr. Tummala’s assets to their own

   use or the use of others not entitled to them. They have exercised dominion

   and control over those assets to Mr. Tummala’s exclusion and detriment.

         34.    Mr. Tummala has suffered damages as a direct and proximate

   result of Defendants’ conversion.

                                 Count III
                                   Fraud
                           Against All Defendants

         35.    To prevail on a fraud claim, a plaintiff must show that the

   defendant made (1) a false representation, (2) of a matter of material fact, (3)

   with knowledge of its falsity, (4) for the purpose of inducing action thereon,

   and (5) that the plaintiff relied upon the representation as true and acted

   upon it to his or her damage.

         36.    As alleged above, the Defendants made numerous false

   representations to Mr. Tummala, including that theirs was a legitimate

   trading platform through which Mr. Tummala might make a return on his



                                         -9-
Case 1:25-cv-00140-MJT     Document 1      Filed 03/26/25   Page 10 of 15 PageID #: 10




    assets. They did so with knowledge of the falsity of these statements and with

    actual intent to induce Mr. Tummala to rely on their statements to his

    detriment, which he did.

          VI.     Relief Sought

          37.     Mr. Tummala requests that judgment be entered against each

    of the Defendants on each of the causes of action set out above. he seeks relief

    as follows:

                   a. Imposition of a constructive trust over his stolen assets and

                      return of those assets to his possession;

                   b. Monetary damages;

                   c. Statutory trebled damages pursuant to 18 U.S.C. § 1964(c);

                   d. Punitive damages;

                   e. Costs, including reasonable attorneys’ fees under 18 U.S.C.

                      § 1964(c);

                   f. Pre- and post-judgment interest;

                   g. Injunctive and equitable relief insofar as required to

                      preserve assets for recovery, halt the Defendants’ unlawful

                      acts, and otherwise enable the exercise of the Court’s

                      powers and effecutate its orders;

                   h. Other relief as the Court deems just and proper.




                                         - 10 -
Case 1:25-cv-00140-MJT   Document 1    Filed 03/26/25    Page 11 of 15 PageID #: 11




     Dated: March 26, 2025                     Respectfully submitted,

                                               THE HODA LAW FIRM, PLLC




                                               Marshal J. Hoda, Esq.
                                               Tx. Bar No. 2411009
                                               12333 Sowden Road, Suite B
                                               PMB 51811
                                               Houston, TX 77080
                                               o. (832) 848-0036
                                               marshal@thehodalawfirm.com

                                               Attorney for Plaintiff




                                      - 11 -
              Case 1:25-cv-00140-MJT     Document 1      Filed 03/26/25   Page 12 of 15 PageID #: 12

               ATTACHMENT 1 – PLAINTIFF OUTGOING TRANSFERS TO CXISUX




Date        Currency   Crypto           USD          Transaction Hash
                       Amount           Amount
12/6/2023   USDT       4886.22680700    $4,886.23    0x14712b5104061f6f5d0ae3f05331c7def2294
                                                     992a8dfaa2f459b53e8d88d0329


12/11/2023 USDT        9863.35198900    $9,863.35    0xaae89f11b530fed13f1ab0a118a7c47e04fc8
                                                     087a5597e05ed3151a397ce6a21


12/12/2023 USDT        4924.63648100    $4,924.64    0x394d4de776ca5f2d93562bb95b2782f3e651
                                                     8f03d7f23b7ebd9285018673c908


12/14/2023 USDT        107.24731000     $107.25      0x39876ccb5d42ddace301b0a9faa4bf080986
                                                     f4bb06b16a6039b9aacbcd095e1a


12/14/2023 USDT        39279.50649000   $39,279.51   0x1741cc7884ae9b5f2cc1c8c5589b2d0c2de1
                                                     34e8f875429d35cda824b14f254


12/18/2023 USDT        19700.17718000   $19,700.18   0x77060a94a55e8630090e96e1dd371a8c23e
                                                     9f981c0680466bff4050a5175a625


12/27/2023 USDT        5000.19847400    $5,000.20    0x9d0161eb4350451f2e9ef4bfdbbab8452482
                                                     f1ef08120453e1e2b730214ed4bd




                                                       - 12 -
              Case 1:25-cv-00140-MJT   Document 1   Filed 03/26/25   Page 13 of 15 PageID #: 13

                 ATTACHMENT 2 – PLAINTIFF OUTGOING TRANSFERS TO APEX-AID



Date       Currency   Crypto     USD Amount    Transaction Hash
                      Amount
3/22/2024 BTC         0.01599265 $1,004.78     fbe3b8ce7c6f19ed94322bc668f7bfd519dfa999c4a4863066cc64f3ebee8708



3/22/2024 BTC         0.19789258 $12,593.27    2257b4b91d30bfd02dfd4080f9dd6464d7c39a9b133d6928f5cb8bff6694e54f



4/4/2024   BTC        0.23338397 $16,000.65    8fbc9a0d62d5063322bb3620a0555de5fb9599a1f30845cd5af5e5aa1e790d4f




4/9/2024   BTC        0.14537612 $10,006.55    2af105efedec757c7cb8a6d405f1dc9a378e4c970512ffc66380d405677bf441



4/9/2024   BTC        0.01456674 $1,005.37     b17649c3af887c205ae7ceed82ec9dbf008f711309a2d81f51393594578a7489



4/17/2024 BTC         0.34829297 $21,011.93    f6706c4da4090efda0a8e05adf6aab3a4b1e3309b3201522c9910eb4768e8359



4/18/2024 BTC         1.00019827 $63,380.33    26400b8c5a50d101cb368ae73274e9f7154fe5c8daf79f807d8e0fc1192bab59
             Case 1:25-cv-00140-MJT   Document 1    Filed 03/26/25   Page 14 of 15 PageID #: 14




4/20/2024 BTC      1.00140000 $65,467.78      e5d04f4d0b73db47d6811bd4f21d2ca179a3076f06d767c638dd71fcce719bfe



4/27/2024 BTC      1.58912723 $100,024.79 a75918907fe5d98b9ecd0b2684d94654d6196d83e76c01edfb47a2aa9318d191


5/4/2024   BTC     0.31377377 $20,002.64      9f179629e3c2401a60c5cce0f180982c39c063f65033e953a66c65f7f6eee830



5/6/2024   BTC     0.46670490 $30,003.12      2a28c80e269245434bf26c3b0b73d60cc8ba0c9585fb9c563440a5852d6a26f0




5/8/2024   BTC     0.32119675 $20,003.02      96f94ce17ed260a2d325d93787943f9c24d720dfdc4bb1ccbe5ce539fba8549b



5/10/2024 BTC      0.63503695 $40,002.49      28f83fca2f378cf3ca9f1fc34fff7f63dd626a59854bfc7279781b3f3c9433c9



5/10/2024 BTC      0.65888815 $40,001.88      50b84a9fc5d0c3f90872e646a364683f3b981572a86ae519fb2d39e343f0a920



7/21/2024 BTC      0.28439442 $19,000.35      ee583b12062d993394880d2e7a44956d8ecab170b475c8423099e4d8d66a9059




                                                   - 14 -
            Case 1:25-cv-00140-MJT   Document 1    Filed 03/26/25   Page 15 of 15 PageID #: 15




7/24/2024 BTC     0.43406537 $29,000.58      7bd8ceace8b964756cee0990e444d3362475d3372c824816202da9871d014dbb



7/27/2024 BTC     0.47160690 $31,950.48      dd7d92fc604b939ce6da8d705e4edb5f0e075adb81575c5d1753b9993f712e88




                                                  - 15 -
